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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


HUMANE CONSUMER LLC,                                 Civil Action No. 18-cv-5622 (PKC)

     Plaintiff,                                      NOTICE OF APPEARANCE OF
                                                     BORIS BROWNSTEIN ON BEHALF
v.                                                   OF DEFENDANTS COB
                                                     ECOMMERCE EMPIRE LLC AND
COB ECOMMERCE EMPIRE LLC d/b/a KEEVA                 CHARLES CRAWFORD
ORGANICS, et al.,

              Defendants.


      PLEASE TAKE NOTICE THAT Boris Brownstein, of the firm of Clark Hill PLC,

hereby enters his appearance as counsel of record on behalf of defendants COB ECOMMERCE

EMPIRE LLC AND CHARLES CRAWFORD. All Rule 12(b) defenses are reserved.

      Respectfully submitted this 29 day of August 2018


                                          CLARK HILL PLC

                                          /s/_Boris Brownstein___________________
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                                          LLC and Charles Crawford
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                                CERTIFICATE OF SERVICE

       This is to certify that I have this day caused to be served a true and correct copy of the

foregoing via ECF to all counsel of record.

       This 29th day of August, 2018.


                                                    /s/ Steven M. Richman
                                                    Steven M. Richman
